EXHIBIT 3
            Case: 19-4074         Document: 38-1     Filed: 01/20/2021     Page: 1                  (1 of 3)




                                       Nos. 19-4074/4075
                                                                                    FILED
                                                                               Jan 20, 2021
                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT                 DEBORAH S. HUNT, Clerk



IN RE: DEPUY ORTHOPAEDICS, INC. ASR HIP IMPLANT                             )
PRODUCTS LIABILITY LITIGATION.                                              )
                                                                            )
       19-4074                                                              )
                                                                            )
ANDREA K. DRAKE; WILLIAM S. DRAKE,                                          )        ORDER
                                                                            )
       Plaintiffs-Appellees,                                                )
                                                                            )
v.                                                                          )
                                                                            )
DEPUY ORTHOPAEDICS, INC., et. al.,                                          )
                                                                            )
       Defendants,                                                          )
                                                                            )
STEVEN M. JOHNSON, D/B/A THE JOHNSON LAW FIRM,                              )
                                                                            )
       Petitioner-Appellant.                                                )
                                                                            )
       19-4075                                                              )
                                                                            )
STEVEN M. JOHNSON,                                                          )
                                                                            )
       Petitioner-Appellant,                                                )
v.                                                                          )
                                                                            )
WILLIAM S. DRAKE,                                                           )
                                                                            )
       Respondent-Appellee.                                                 )
                                                                            )




       BEFORE: GUY, CLAY, and KETHLEDGE, Circuit Judges.


       The court received a petition for rehearing en banc. The original panel has reviewed the

petition for rehearing and concludes that the issues raised in the petition were fully considered
             Case: 19-4074      Document: 38-1        Filed: 01/20/2021     Page: 2                  (2 of 3)




upon the original submission and decision of the cases. The petition then was circulated to the

full court.* No judge has requested a vote on the suggestion for rehearing en banc.

        Therefore, the petition is denied. Judge Clay would grant rehearing for the reasons stated

in his dissent.




                                             ENTERED BY ORDER OF THE COURT




                                             Deborah S. Hunt, Clerk




        *
        Judges Sutton, White, and Bush recused themselves from participation in this ruling.
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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: January 20, 2021




Mr. Derek Irwin Stewart
Meshbesher & Spence
1616 Park Avenue
Minneapolis, MN 55404

                     Re: Case No. 19-4074/19-4075, Andrea Drake, et al v. DePuy Orthopaedics, Inc., et al
                         Originating Case No.: 1:13-dp-20140

Dear Mr. Stewart,

  The Court issued the enclosed Order today in these cases.

                                                 Sincerely yours,

                                                 s/Beverly L. Harris
                                                 En Banc Coordinator
                                                 Direct Dial No. 513-564-7077

cc: Mr. Robert Dolan Akers
    Ms. Marla Broaddus
    Mr. Andrew L. Davick
    Mr. Michael Truesdale

Enclosure
